           Case 23-02889-5-PWM                    Doc 1 Filed 10/05/23 Entered 10/05/23 14:57:51                                   Page 1 of 15


Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NORTH CAROLINA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                TOPPOS LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                                                                                  401 E Las Olas Blvd
                                  401 E 11th Street                                               Suite 130-161
                                  Lumberton, NC 28358                                             Fort Lauderdale, FL 33301
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Robeson                                                         Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  401 E 11th Street Lumberton, NC 28358
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    TOPPOS LLC                                                                                   Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5311

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 2
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Debtor    TOPPOS LLC                                                                                      Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
          Case 23-02889-5-PWM       Doc 1 Filed 10/05/23 Entered 10/05/23 14:57:51                           Page 4 of 15
Debtor   TOPPOS LLC                                                           Case number (if known)
         Name

                       $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                       $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                       $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
           Case 23-02889-5-PWM                    Doc 1 Filed 10/05/23 Entered 10/05/23 14:57:51                                     Page 5 of 15
Debtor    TOPPOS LLC                                                                               Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 5, 2023
                                                  MM / DD / YYYY


                             X /s/ Neil Carmichael Bender, II                                             Neil Carmichael Bender, II
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Member-manager




18. Signature of attorney    X /s/ Blake Y. Boyette                                                        Date October 5, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Blake Y. Boyette 44239
                                 Printed name

                                 Buckmiller, Boyette & Frost, PLLC
                                 Firm name

                                 4700 Six Forks Road
                                 Suite 150
                                 Raleigh, NC 27609
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     919-296-5040                  Email address      bboyette@bbflawfirm.com

                                 44239 NC
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Fill in this information to identify the case:

Debtor name         TOPPOS LLC

United States Bankruptcy Court for the:     EASTERN DISTRICT OF NORTH CAROLINA

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       October 5, 2023                 X /s/ Neil Carmichael Bender, II
                                                           Signature of individual signing on behalf of debtor

                                                            Neil Carmichael Bender, II
                                                            Printed name

                                                            Member-manager
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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Fill in this information to identify the case:
Debtor name TOPPOS LLC
United States Bankruptcy Court for the: EASTERN DISTRICT OF NORTH                                                                           Check if this is an
                                               CAROLINA
Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
21st Mortgage                                                                                          $4,780,300.34                   Unknown                   Unknown
Corporation
Attn: Manager,
Officer, Agent
P.O. Box 220
Knoxville, TN 37901
Bladen County Tax                                   Property Taxes                                                                                              $19,306.42
Office
Attn: Manager,
Officer, Agent
201 E King St.
Elizabethtown, NC
28337
Brendan A. Potts                                    Storage Costs                                                                                               $12,000.00
1751 North Grand
Ave W
Springfield, IL 62702
CHC TN, LLC                                                                                            $4,954,068.49                   Unknown                   Unknown
Attn: Manager,
Officer, Agent
3340 LAKE VIEW
DRIVE
Knoxville, TN 37919
City of Lumberton                                   Property Taxes                                                                                            $146,995.21
Attn: Manager,
Officer, Agent
500 N Cedar Street
Lumberton, NC
28358
Clayton Homes - Tru                                                                                                                                             $17,143.35
White Pine
Attn: Manager,
Officer, Agent
2215 Walnut Street
White Pine, TN
37890



Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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Debtor     TOPPOS LLC                                                                               Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Cumberland County                                   Property Taxes                                                                                                $8,593.58
Tax Admin.
Attn: Manager,
Officer, Agent
117 Dick Street,
Room 530
Fayetteville, NC
28301
GreenState Credit                                                                                    $12,038,347.58                    Unknown                   Unknown
Union
Attn: Manager,
Officer, Agent
2355 Landon Road,
PO Box 800
North Liberty, IA
52317
Hoke County Tax                                     Property Taxes                                                                                              $18,221.93
Office
Attn: Manager,
Officer, Agent
227 N. Main Street
Raeford, NC 28376
Morgan County                                       Property Taxes                                                                                            $136,656.33
Treasurer
Attn: Manager,
Officer, Agent
300 West State
Street
Jacksonville, IL
62650
Northpoint                                                                                           $21,987,192.99                    Unknown                   Unknown
Commerical
Finance, LLC
Attn: Manager,
Officer, Agent
251 Little Falls Drive
Wilmington, DE
19808
Park Lake FInancial                                                                                                                                             $60,351.34
Solutions
Attn: Manager,
Officer, Agent
108 Mactanly Place
Staunton, VA 24401
Robeson County                                      Property Taxes                                                                                            $472,789.19
Tax Collector
Attn: Manager,
Officer, Agent
550 N Chestnut
Street
Lumberton, NC
28358


Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
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Debtor     TOPPOS LLC                                                                               Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Sampson County                                      Property Taxes                                                                                              $19,356.00
Tax Collector
Attn: Manager,
Officer, Agent
406 County
Complex Rd
Clinton, NC 28328
Sangamon County                                     Property Taxes                                                                                              $55,334.53
Tax Collector
Attn: Manager,
Officer, Agent
200 South 9th Street
Springfield, IL 62701
Style Crest, Inc.                                   Services                                                                                                    $51,859.82
Attn: Manager,
Officer, Agent
2626 Glenwood Ave
Ste 550
Raleigh, NC 27608




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
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                                                      United States Bankruptcy Court
                                                         Eastern District of North Carolina
 In re    TOPPOS LLC                                                                                              Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Neil C. Bender, II                                                                99.5%                                      membership interest
100 East Las Olas Blvd
Suite 3804
Fort Lauderdale, FL 33301

TIME OUT EQUITY HOLDINGS LLC                                                      0.5%                                       membership interest
Attn: Manager, Officer, Agent
401 E 11th Street
Lumberton, NC 28358


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Member-manager of the corporation named as the debtor in this case, declare under penalty of perjury that I
have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



Date October 5, 2023                                                     Signature /s/ Neil Carmichael Bender, II
                                                                                        Neil Carmichael Bender, II

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                              United States Bankruptcy Court
                                                Eastern District of North Carolina
 In re   TOPPOS LLC                                                                            Case No.
                                                                   Debtor(s)                   Chapter      11




                                  VERIFICATION OF CREDITOR MATRIX


I, the Member-manager of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




Date:    October 5, 2023                               /s/ Neil Carmichael Bender, II
                                                       Neil Carmichael Bender, II/Member-manager
                                                       Signer/Title
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TOPPOS LLC                                NC Department of Revenue            BRITTANY COURT MHP LLC
401 E Las Olas Blvd                       Office Serv. Div, Bankruptcy Unit   Attn: Manager, Officer, Agent
Suite 130-161                             P.O. Box 1168                       1030 N. Grand Ave West, East Bld
Fort Lauderdale, FL 33301                 Raleigh, NC 27602-1168              Springfield, IL 62702



Blake Y. Boyette                          21st Communities, Inc.              BULLOCK MHP LLC
Buckmiller, Boyette & Frost, PLLC         Attn: Manager, Officer, Agent       Attn: Manager, Officer, Agent
4700 Six Forks Road                       P.O. Box 220                        401 E 11th Street
Suite 150                                 Knoxville, TN 37901                 Lumberton, NC 28358
Raleigh, NC 27609

Marjorie K. Lynch                         21st Mortgage Corporation           CADILLAC RANCH MHC LLC
U.S. Bankruptcy Administrator             Attn: Manager, Officer, Agent       Attn: Manager, Officer, Agent
434 Fayetteville Street, Suite 640        P.O. Box 220                        401 E 11th Street
Raleigh, NC 27601                         Knoxville, TN 37901                 Lumberton, NC 28358



US Securities and Exchange Comm.          ABBOT PARK MHC LLC                  CAPE FEAR MHC LLC
Office of Reorganization                  Attn: Manager, Officer, Agent       Attn: Manager, Officer, Agent
950 E Paces Ferry Road NE, Ste. 900       401 E 11th Street                   401 E 11th Street
Atlanta, GA 30326                         Lumberton, NC 28358                 Lumberton, NC 28358



Secretary of Treasury                     AFFORDABLE RESORTS LLC              CEDARBROOK ESTATES MHP LL
Attn: Managing Agent                      Attn: Manager, Officer, Agent       Attn: Manager, Officer, Agent
1500 Pennsylvania Ave. N.W.               664 Ben Greene Industrial Park Dr   1030 N. Grand Ave West, East Bld
Washington, DC 20220                      Elizabethtown, NC 28337             Springfield, IL 62702



Internal Revenue Service                  ALAMAC VILLAGE MHP LLC              CENTRAL PARK 2 MHP LLC
Attn: Manager, Officer, Agent             Attn: Manager, Officer, Agent       Attn: Manager, Officer, Agent
PO Box 7346                               401 E 11th Street                   401 E 11th Street
Philadelphia, PA 19101-7346               Lumberton, NC 28358                 Lumberton, NC 28358



US Attorney General                       BAYSIDE MHC LLC                     CENTRAL PARK 3 MHP LLC
950 Pennsylvania Ave. N.W                 Attn: Manager, Officer, Agent       Attn: Manager, Officer, Agent
Washington, DC 20530                      401 E 11th Street                   401 E 11th Street
                                          Lumberton, NC 28358                 Lumberton, NC 28358



Josh Stein                                Bladen County Tax Office            CHC TN, LLC
NC Attorney General                       Attn: Manager, Officer, Agent       Attn: Manager, Officer, Agent
9001 Mail Service Center                  201 E King St.                      3340 LAKE VIEW DRIVE
Raleigh, NC 27699                         Elizabethtown, NC 28337             Knoxville, TN 37919



United States Attorney                    Brendan A. Potts                    City of Lumberton
Attn: Civil Process Clerk                 1751 North Grand Ave W              Attn: Manager, Officer, Agent
150 Fayetteville St., Ste 210             Springfield, IL 62702               500 N Cedar Street
Raleigh, NC 27601-1461                                                        Lumberton, NC 28358
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CITY VIEW MHC LLC                     GreenState Credit Union              Park Lake FInancial Solutions
Attn: Manager, Officer, Agent         Attn: Manager, Officer, Agent        Attn: Manager, Officer, Agent
1030 N. Grand Ave West, East Bldg.    2355 Landon Road, PO Box 800         108 Mactanly Place
Springfield, IL 62702                 North Liberty, IA 52317              Staunton, VA 24401



Clayton Homes - Tru White Pine        Hoke County Tax Office               PATCH PLACE MHC LLC
Attn: Manager, Officer, Agent         Attn: Manager, Officer, Agent        Attn: Manager, Officer, Agent
2215 Walnut Street                     227 N. Main Street                  1030 N. Grand Ave West, East Bld
White Pine, TN 37890                  Raeford, NC 28376                    Springfield, IL 62702



COUNTRYSIDE MHC LLC                   LAIKEN ESTATES MHC LLC               PINE LOG MHC LLC
Attn: Manager, Officer, Agent         Attn: Manager, Officer, Agent        Attn: Manager, Officer, Agent
401 E 11th Street                     401 E 11th Street                    401 E 11th Street
Lumberton, NC 28358                   Lumberton, NC 28358                  Lumberton, NC 28358



Cumberland County Tax Admin.          LITTLEFIELD VILLAGE MHP LLC          PINE RUN PARK MHP LLC
Attn: Manager, Officer, Agent         Attn: Manager, Officer, Agent        Attn: Manager, Officer, Agent
117 Dick Street, Room 530             401 E 11th Street                    401 E 11th Street
Fayetteville, NC 28301                Lumberton, NC 28358                  Lumberton, NC 28358



DOGWOOD MHC LLC                       MAPLE CREEK MHP LLC                  PINEWOOD MHC LLC
Attn: Manager, Officer, Agent         Attn: Manager, Officer, Agent        Attn: Manager, Officer, Agent
401 E 11th Street                     1030 N. Grand Ave West, East Bldg.   401 E 11th Street
Lumberton, NC 28358                   Springfield, IL 62702                Lumberton, NC 28358



EAGLEWOOD MHP LLC                     Matthew W. Ring                      PLEASANT HOPE MHC LLC
Attn: Manager, Officer, Agent         2805 East Oakland Park Blvd          Attn: Manager, Officer, Agent
401 E 11th Street                     Suite 438                            401 E 11th Street
Lumberton, NC 28358                   Fort Lauderdale, FL 33306            Lumberton, NC 28358



EASTVIEW MHC LLC                      Morgan County Treasurer              PRAIRIE KNOLLS MHP LLC
Attn: Manager, Officer, Agent         Attn: Manager, Officer, Agent        Attn: Manager, Officer, Agent
401 E 11th Street                     300 West State Street                1030 N. Grand Ave West, East Bld
Lumberton, NC 28358                   Jacksonville, IL 62650               Springfield, IL 62702



GRAND VALLEY MHP LLC                  Neil C. Bender, II                   RIDGEFIELD MHC LLC
Attn: Manager, Officer, Agent         100 East Las Olas Blvd               Attn: Manager, Officer, Agent
1030 N. Grand Ave West, East Bldg.    Suite 3804                           401 E 11th Street
Springfield, IL 62702                 Fort Lauderdale, FL 33301            Lumberton, NC 28358



GREEN PINES MHC LLC                   Northpoint Commerical Finance, LLC   Robeson County Tax Collector
Attn: Manager, Officer, Agent         Attn: Manager, Officer, Agent        Attn: Manager, Officer, Agent
401 E 11th Street                     251 Little Falls Drive               550 N Chestnut Street
Lumberton, NC 28358                   Wilmington, DE 19808                 Lumberton, NC 28358
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ROLLING ACRES MHC LLC                TIME OUT MHP LLC                     WYSTERIA VILLAGE MHC LLC
Attn: Manager, Officer, Agent        Attn: Manager, Officer, Agent        Attn: Manager, Officer, Agent
1030 N. Grand Ave West, East Bldg.   8 The Green, Suite R                 401 E 11th Street
Springfield, IL 62702                Dover, DE 19901                      Lumberton, NC 28358



Sampson County Tax Collector         TIME OUT PROPERTIES LLC
Attn: Manager, Officer, Agent        Attn: Manager, Officer, Agent
406 County Complex Rd                8 The Green, Suite R
Clinton, NC 28328                    Dover, DE 19901



Sangamon County Tax Collector        Top Park Maintenance
Attn: Manager, Officer, Agent        Attn: Manager, Officer, Agent
200 South 9th Street                 401 E 11th Street
Springfield, IL 62701                Lumberton, NC 28358



SCHOOLVIEW MHC LLC                   TOP PARK SERVICES LLC
Attn: Manager, Officer, Agent        Attn: Manager, Officer, Agent
401 E 11th Street                    401 E Las Olas Blvd, Suite 130-161
Lumberton, NC 28358                  Fort Lauderdale, FL 33301



SCOTTSDALE MHP LLC                   TURNER PARK MHC LLC
Attn: Manager, Officer, Agent        Attn: Manager, Officer, Agent
1030 N. Grand Ave West, East Bldg.   401 E 11th Street
Springfield, IL 62702                Lumberton, NC 28358



Style Crest, Inc.                    VICTORIA ESTATES MHC LLC
Attn: Manager, Officer, Agent        Attn: Manager, Officer, Agent
2626 Glenwood Ave Ste 550            401 E 11th Street
Raleigh, NC 27608                    Lumberton, NC 28358



TAYLOR PARK MHC LLC                  WAYNESVILLE PLANTATION MHP LLC
Attn: Manager, Officer, Agent        Attn: Manager, Officer, Agent
401 E 11th Street                    401 E 11th Street
Lumberton, NC 28358                  Lumberton, NC 28358



TAYLOR'S BRIDGE MHC LLC              WEST ESTATES MHC LLC
Attn: Manager, Officer, Agent        Attn: Manager, Officer, Agent
401 E 11th Street                    401 E 11th Street
Lumberton, NC 28358                  Lumberton, NC 28358



TIME OUT COMMUNITIES LLC             WHITE SANDS MHC LLC
Attn: Manager, Officer, Agent        Attn: Manager, Officer, Agent
401 E 11th Street                    401 E 11th Street
Lumberton, NC 28358                  Lumberton, NC 28358
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                                         United States Bankruptcy Court
                                            Eastern District of North Carolina
 In re   TOPPOS LLC                                                                   Case No.
                                                             Debtor(s)                Chapter    11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for TOPPOS LLC in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




October 5, 2023                                 /s/ Blake Y. Boyette
Date                                            Blake Y. Boyette 44239
                                                Signature of Attorney or Litigant
                                                Counsel for TOPPOS LLC
                                                Buckmiller, Boyette & Frost, PLLC
                                                4700 Six Forks Road
                                                Suite 150
                                                Raleigh, NC 27609
                                                919-296-5040 Fax:919-890-0356
                                                bboyette@bbflawfirm.com
